Case 2:20-cr-00011-JAG-LRL Document 213 Filed 04/07/22 Page 1 of 1 PagelD# 1916

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

FERNANDO GALINDO MARK 5S. DAVIS

CLERK OF COURT CHIEF JUDGE

April 5, 2022

Andrew Bosse

U.S. Attorney’s Office

10] W. Main Street, Suite 8000
Norfolk, VA 23510

Re: Release of Exhibits: USA v. Tamara Latisha Howell
Criminal Number: 2:20cr11

Pursuant to Local Rule 55, as amended September 1, 2000, the following exhibits entered in the
above case are available for release to Government Counsel:

Exhibits from motion hearing on 6/26/2020

Please acknowledge receipt of same on the attached copy of this letter within ten (10) days from
the above date.

FERNANDO GALINDO, Clerk of Court

BY: Is
J. Hiemer, Deputy Clerk

QL

(Signature of AUSA)

q / C/ Ay
Date Exhibits Received

 

 

www.vaed.uscourts.gov
ALEXANDRIA (703) 299-2100 ™ NEWPORT NEWS (757) 247-0784 ™ NORFOLK (757) 222-7205 ™@ RICHMOND (804) 916-2200
